

People v Alvarez (2023 NY Slip Op 00041)





People v Alvarez


2023 NY Slip Op 00041


Decided on January 05, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 05, 2023

Before: Kern, J.P., Gesmer, Kennedy, Scarpulla, Rodriguez, JJ. 


Ind No. 354/17 Appeal No. 16853 Case No. 2019-5869 

[*1]The People of the State of New York, Respondent,
vJustin Alvarez, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Robin Richardson of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Katherine Triffon of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Barry E. Warhit, J.), rendered March 20, 2019, convicting defendant, upon his plea of guilty, of attempted criminal possession of a weapon in the second degree, and sentencing him to five years' probation, unanimously affirmed.
Defendant made a valid waiver of his right to appeal (see People v Thomas, 34 NY3d 545, 559 [2019], cert denied 589 US , 140 S Ct 2634 [2020]; People v Lopez, 6 NY3d 248, 256 [2006]), which forecloses review of his argument that the mandatory surcharge and fees imposed at sentencing should be vacated pursuant to CPL 420.35 (2-a) (see People v Diaz, 205 AD3d 624 [1st Dept 2022], lv denied 38 NY3d 1133 [2022]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 5, 2023








